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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

LEAGUE OF UNITED LATIN                      §
AMERICAN CITIZENS, et al.,                  §
                                            §
              Plaintiffs,                   §
                                            §
EDDIE BERNICE JOHNSON, et al.,              §       EP-21-CV-00259-DCG-JES-JVB
                                                            [Lead Case]
                                            §
              Plaintiff-Intervenors,        §
                                                                    &
v.                                          §
                                            §            All Consolidated Cases
GREG ABBOTT, in his official capacity as    §
Governor of the State of Texas, et al.,     §
                                            §
              Defendants.                   §

                        ORDER MODIFYING TRIAL SCHEDULE

       The Court AMENDS its “Pretrial Scheduling Order” (ECF No. 880) IN PART as

follows:

       The trial sessions on Saturday, May 24, 2025 and Saturday, May 31, 2025 shall now

run from 8:30 A.M. to 12:30 P.M. Mountain Time.

       In all other respects, the Pretrial Scheduling Order SHALL REMAIN UNCHANGED.




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     So ORDERED and SIGNED this 13th day of May 2025.




                                               ____________________________________
                                               DAVID C. GUADERRAMA
                                               SENIOR U.S. DISTRICT JUDGE



                                       And on behalf of:

          Jerry E. Smith                                        Jeffrey V. Brown
    United States Circuit Judge               -and-        United States District Judge
U.S. Court of Appeals, Fifth Circuit                        Southern District of Texas




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